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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        14-05033 DG                                                         Trustee: (420110)           THOMAS A. BRUINSMA
Case Name:          PIERSON, PATSY J.                                                   Filed (f) or Converted (c): 10/06/14 (c)
                                                                                        §341(a) Meeting Date:       11/04/14
Period Ending:      12/31/18                                                            Claims Bar Date:            09/16/15

                               1                                     2                         3                          4                  5                    6

                       Asset Description                          Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)            Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                   Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                Remaining Assets

 1       980 - 20 MILE RD NE, CEDAR SPRINGS (See Footnote)          75,200.00                          0.00                                      0.00                    FA

 2       CASH                                                              0.00                        0.00                                      0.00                    FA

 3       CHASE CHECKING                                                  856.68                        0.00                                      0.00                    FA

 4       BANK OF AMERICA CHECKING                                        130.00                        0.00                                      0.00                    FA

 5       BANK OF AMERICA SAVINGS                                          65.00                        0.00                                      0.00                    FA

 6       CHEMICAL BANK SAVINGS                                            67.07                        0.00                                      0.00                    FA

 7       HHGS                                                        1,000.00                          0.00                                      0.00                    FA
 8       CLOTHING                                                        200.00                        0.00                                      0.00                    FA

 9       JEWELRY                                                         100.00                        0.00                                      0.00                    FA

10       METROPOLITAN LIFE TERM                                            1.00                        0.00                                      0.00                    FA

11       IRA                                                         8,893.80                          0.00                                      0.00                    FA

12       403(B) (See Footnote)                                      40,593.56                          0.00                                      0.00                    FA

13       DIVORCE                                                    14,000.00                          0.00                                      0.00                    FA

14       2009 FORD FOCUS (See Footnote)                              7,200.00                          0.00                                      0.00                    FA

15       2004 CHEVROLET MONTE CARLO (See Footnote)                   4,850.00                          0.00                                      0.00                    FA

16       1998 DODGE RAM                                                  500.00                        0.00                                      0.00                    FA

17       2009 HARLEY DAVIDSON (See Footnote)                        16,000.00                          0.00                                      0.00                    FA

18       COMPUTER                                                         50.00                        0.00                                      0.00                    FA

19       DOG AND CAT                                                       1.00                        0.00                                      0.00                    FA


                                                                                                                                        Printed: 02/04/2019 06:18 PM   V.13.32
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                                                                   Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                Remaining Assets

20       LAWNMOWER                                                       500.00                         0.00                                      0.00                   FA

21       ESTIMATED 2014 TAX REFUNDS (See Footnote)                       739.00                         0.00                                      0.00                   FA

22       PENDING LAWSUIT (See Footnote)                            100,000.00                      68,058.75                                      0.00          100,000.00

22       Assets         Totals (Excluding unknown values)         $270,947.11                   $68,058.75                                       $0.00         $100,000.00

     RE PROP# 1         5/15 LIFT OF STAY GRANTED. SECURED-US BANK HOME MORTGAGE.
     RE PROP# 12        5/15 ALTHOUGH NOT CURRENTLY FULLY EXEMPTED, THIS ASSET IS NOT "REACHABLE" BY THE BANKRUPTCY ESTATE.
     RE PROP# 14        1/15 REAFFIRMED. SECURED-CREDIT UNION ONE.
     RE PROP# 15        11/14 LIFT OF STAY GRANTED. SECURED-CHIEF PONTIAC FEDERAL CU.
     RE PROP# 17        AMENDMENT - 12/1/14 (VALUE CHANGED TO "UNKNOWN"). SECURED-HARLEY DAVIDSON CREDIT.
     RE PROP# 21        9/16 TAX RETURNS RECEIVED AND REVIEWED. 8/16 SUBPOENA TO DEBTOR FOR TAX RETURNS. RCVD & REVIEWED -
                       NO ESTATE VALUE. 6/16 LETTER DEBTOR/ATTNY - STILL REQUIRE TAX RETURNS - IGNORED. ADDED BY AMENDMENT
                       - 12/1/14.
     RE PROP# 22        1/19 REVIEW FED DISTRICT COURT SETTLEMENT & PROPOSED SETTLEMENT DISBURSEMENTS. 12/18 UPDATE WITH
                       SPECIAL COUNSEL. 9/18 UPDATE=SPECIAL COUNSEL "EXPECTS" SOME CASE MOVEMENT NOV. 1/18 COUNSEL MEMO ON
                       STATUS - REMAINS PENDING. 10/17 REQUEST SPECIAL COUNSEL UPDATE. 4/17 REQUEST SPECIAL COUNSEL UPDATE.
                        12/16 ACTION/SETTLEMENT REMAINS PENDING. 8/16 SETTLEMENT ORDER W/ DEBTOR ON LAWSUIT FUNDS. 7/16
                       SPECIAL COUNSEL ADVISES "EARLY NEGOTIATIONS" AND POSSIBLE RESOLUTION +/- ONE YEAR. 6/16 FILED
                       SETTLEMENT WITH DEBTOR ON DIVISION OF POSSIBLE FUNDS IN MED/MAL LAWSUIT. 2/16-12/15 NEGOTIATING
                       POSSIBLE SETTLEMENT WITH DEBTOR ON POTENTIAL LAWSUIT FUNDS. SPECIAL COUNSEL APPOINTMENT ORDER. 1/15
                       NOTIFY LAWSUIT ATTORNEY OF BANKRUPTCY ESTATE. v. BOSTON SCIENTIFIC CORP RE PELVIC MESH/SLING
                       PRODUCT. VALUE FROM SCHEDULES/ESTIMATE ONLY. TO BE DETERMINED. ADDED BY AMENDMENT - 12/1/14.


     Major Activities Affecting Case Closing:
             1/19 REVIEW FED DISTRICT COURT SETTLEMENT & PROPOSED SETTLEMENT DISBURSEMENTS. 12/18 UPDATE WITH SPECIAL COUNSEL. 9/18

                                                                                                                                        Printed: 02/04/2019 06:18 PM   V.13.32
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            UPDATE=SPECIAL COUNSEL "EXPECTS" SOME CASE MOVEMENT NOV. 6/18 REQUEST FOR SPECIAL COUNSEL UPDATE. 1/18 COUNSEL MEMO ON
            STATUS - REMAINS PENDING. 10/17 REQUEST SPECIAL COUNSEL UPDATE. 4/17 REQUEST SPECIAL COUNSEL UPDATE & RESPONSE. 12/16
            ACTION/SETTLEMENT REMAINS PENDING. 9/16 TAX RETURNS RECEIVED AND REVIEWED. 8/16 SUBPOENA TO DEBTOR FOR TAX RETURNS.
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            YEAR. 6/16 FILED SETTLEMENT WITH DEBTOR ON DIVISION OF POSSIBLE FUNDS IN MED/MAL LAWSUIT. 2/16-12/15 NEGOTIATING POSSIBLE
            SETTLEMENT WITH DEBTOR ON POTENTIAL LAWSUIT FUNDS. SPECIAL COUNSEL APPOINTMENT ORDER. 10/15 APPLICATION FOR SPECIAL COUNSEL
            (KIRKENDALL-DWYER) MED/MAL CLAIM. 6/15 NOTICE OF POSSIBLE DIVIDENDS. 5/15 FOLLOW UP STATUS OF DEBTOR LAWSUIT. 3/15 FOLLOW UP
            STATUS OF DEBTOR LAWSUIT. 1/15 NOTIFY LAWSUIT ATTORNEY OF BANKRUPTCY ESTATE. 12/14 DEBTOR AMENDMENTS/DISCLOSURE (W) LAWSUIT.
            ATTORNEY RAYMAN. 11/14 INITIAL DISCLOSURE (W) PENDING LAWSUIT. 10/14 CONVERSION CH-13 TO CH-7.

    Initial Projected Date Of Final Report (TFR): December 15, 2016                 Current Projected Date Of Final Report (TFR): October 15, 2019




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